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Exhibit 44
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UNITED STATES DISTRICT COURT

DISTRICT OF MASSACHUSETTS
MDL Docket No. 1629
Master File No. 04-10981

RRR KKK KK KKK KKK KKK KR KKK KEK KEKE KEK KEKE

In Re: NEURONTIN MARKETING, SALES
PRACTICES, AND PRODUCTS LIABILITY
LITIGATION,

RRR KR KR RR KK KR KR KKK KK RK KKK ERK EKER KK KKEKE

THIS DOCUMENT RELATES TO:

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HARDEN MANUFACTURING CORPORATION;
LOUISTANA HEALTH SERVICE INDEMNITY
COMPANY, dba BLUECROSS/BLUESHIELD OF
LOUISIANA; INTERNATIONAL UNION OF
OPERATING ENGINEERS, LOCAL NO. 68
WELFARE FUND; ASEA/AFSCME LOCAL 52
HBALTH BENEFITS TRUST; GERALD SMITH;
and LORRAINE KOPA, on behalf of
themselves and all others Similarly
Situated, v. PFIZER INC. and
WARNER-LAMBERT COMPANY,

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THE GUARDIAN LIFE INSURANCE COMPANY
OF AMERICA v. PFIZER INC. and

AETNA, INC. v. PFIZER, INC,

OR RK OK RK KR KR RR KKK KKK KEK KK KKK KEKKKEKEEEK

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK

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In Re: NEURONTIN PRODUCT LIABILITY
LITIGATION

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THIS DOCUMENT APPLIES To: 765000/06

ALL CASES

 

 
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actually.

Q. Is that consistent across patients?

A. It depends on the procedure code. A
new hour eval is 250. This may not make a lot
of sense, a half hour is 135, two half hours
270, one full hour 200.

Q. Could you go over those rates again
from lowest to highest describing what the rates
are for?

A. Certainly. A full 50 minutes, not
initial eval, follow-up is 200 an hour. A new
eval is 250 per hour. A half hour follow-up is
135 for 30 minutes, or 270 for an hour.

Q. Okay.

A. I've not raised my rates in ten years.

Q. Really?

A. Really.

Q. What have you been retained to do in
this case?

A. Well, to carefully look at the science
behind Neurontin, particularly the efficacy
clinical trials, to review the marketing
material, to make a judgment on the soundness of|
the science or research as it pertains to

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Q. Who was that?

A. Attorney Rona.

Q. Do you know how Mr. Rona was referred
to you?

MR. RONA: Objection.

A. I don't know exactly. I seem to
recall that the firm Greene & Hoffman had spoken.
to a colleague of mine who writes The Carlat
Psychiatry Report, and it's my understanding
that he provided Plaintiffs' counsel with my
name and contact info.

BY MS. HARRIS:

Q. And what was the subject matter of
your first discussion, which I believe you said
was in late February or early March, 2008?

A. It was a general outline of what this
case was about, and what -- do I have an
opinion, do I have any feelings or interest.

Q. Did you have an opinion at that point
after receiving a general overview of what the
case was about?

A. Yes. I had always been of the mind
that Neurontin was not effective as a mood
stabilizer and, you know, I was aware of the

 

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gabapentin and its efficacy in bipolar disorder
and solely bipolar disorder, and then ask do the
results of the science and clinical trial data
support the marketing, as well as sort of more
peripherally, I suppose, discuss what is bipolar
disorder, discuss what is evidence-based
medicine, discuss the treatments of bipolar
disorder. And finally, in the supplemental
record to review early clinical and early safety
data as it pertains to potential adverse effects
on mood, and comment on the relevance there as
it pertains to the marketing of Neurontin.

Q. Is there any work that you were asked
to do in connection with this matter that you
have not yet done?

A. No.

Q. Have you completed any work in this
matter that Plaintiffs have elected not to
disclose as part of your reports?

A. No.

Q. Can you describe how you first became
aware of this case?

A. Yes. [had received a phone call from

 

 

one of Plaintiffs’ attorneys.

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Level 1 evidence on Neurontin, and I was
concerned, that's sort of a heavy word but
conveys the sentiment, that Neurontin was used
inappropriately in patients with bipolar
disorder.

Q. Have you ever written on that topic?

A. No.

Q. Do you know how Mr. Rona would know
that you might have that opinion on this issue?

A. We had a conversation to that effect.

Q. So it was based on that first
conversation?

A. Yes.

Q. Was there anyone else on the call
besides you and Mr. Rona?

A. I think initially it was Mr. Rona and
myself.

Q. You say "initially." Was there some
other time that there were more people on the
call?

A. We had a face to face meeting sometime
in March with representatives from Mr. Rona's
firm.

Q. Who besides Mr. Rona attended?

 

 

58 (Pages 226 to 229)
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poles, they're closer to easier to treat.

Q. Is there a cure for bipolar disorder?

A. Bipolar disorder is a cyclic recurrent
disorder that, like diabetes or hypertension, is
a disorder of chronic management. We don't
really think about these disorders as curable.

Q. So what are the goals, then, of
treating a patient with bipolar disorder?

A. The goal of treatment is to ensure
that the mood becomes euthymic, normal mood, and
stays that way.

Q. Are there patients who don't get
adequate relief or enter into the euthymic state
from the currently available FDA-approved
medications for bipolar disorder?

A. That can happen. But as I said
before, fortunately that's quite rare.

Q. What does it mean for a patient to be
refractory?

A. Refractory. There's a spectrum, if
you will, from treatment responsive to treatment
refractory, and we talk about the intermediate
areas as treatment resistant.

Treatment refractory describes those

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remission increased over time as there have been
more medications available to treat bipolar
disorder?

A. [ think with the advent of new high
level of evidence, Level 1 evidence treatments,

I think we've been much more successful in
getting our patients into remission and keeping
them in remission, yes.

Q. You say "much more successful.” Was
that not always the case over time?

A. Well, I can't give you percentages of
what number of patients remitted at different
points in time, but I could tell you that the
ability to treat these patients with novel
treatments has really become much more complete.

Q. Because of the development of new
medicines?

A. In large part, yes.

Q. Ifwe're talking back, say, in 1994,
is there a significant difference between the
available FDA-approved medicines from 1994 to
today?

A. Yes. The cormerstone of treating
bipolar disorder, the mood stabilizers. And the

 

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patients, again thankfully the minority, who are
very difficult, if not impossible, to treat.

Q. Do you use different medication
strategies for patients along different points
of that spectrum you've just described?

A. Interesting question, because many of
the treatments will work for different -- for
the same stages of severity, so you have a large
number of applications. And that's interesting,
because sometimes you have somebody who's just a
little hypomanic who needs a big gun, so to
speak, and other times you have somebody who is
more severe who responds to a more gentle
treatment.

Q. Isee.

Do patients sometimes go into
remission?

A. Yes. Imean when you use good Level 1
data and you use treatments that work that are
supported by the literature and you do this
enough, you get to a point where patients will
not only go into remission but will stay, and we
call that a full and sustained remission.

Q. Has the number of patients who achieve

 

 

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classic mood stabilizers are lithium which has
been around for a long time which is actually a
great, great mood stabilizer, quite possibly the
best, even though it's been around forever.
Another drug called Depakote, valproic acid,
also extremely good. And the other classic
anti-convulsant mood stabilizer was
Carbamazepine, or Tegretol I guess is the brand
name, and that, too, has a very good activity
profile. And in general we did really well with
those three agents.

Nowadays what's improved with the use
of the anti-psychotics, the second generation
anti-psychotics, or atypicals as they're also
known, is the ability to more rapidly treat
patients who are acutely manic or in acute mixed
states.

The trouble with the atypicals as
newer treatments is some of them have very
deleterious impact on tolerability, things like
weight gain, induction quite possibly of
diabetes and other metabolic matters.

So really the goal of treatment still
is to more rapidly get these patients better and

 

 

80 (Pages 314 to 317)
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A. Before we get to the tolerability,

could we just take a break, men's room break?

MS. HARRIS: Sure. Absolutely.

THE VIDEOGRAPHER: The time is 5:15.
We're off the record.

(Whereupon, a recess was taken.)

THE VIDEOGRAPHER: Back on the record.
The time is 5:24.

BY MS. HARRIS:

Q. Dr. Barkin, you've indicated a few
times that you're not sure as you sit here today
whether there's Level 1 evidence on various
indications for which you use some of these
medications in bipolar patients.

Do you search for Level 1 evidence
before you prescribe these medicines?

A. Ifit's a new treatment I do, yes.

Q. Do you search to make sure that the
science has not changed or the evidence, Level 1
evidence has not changed with respect to any of
the medications that you prescribe?

A. Not with medications that I commonly
use. When a new medication is made available, I
do review the literature surrounding that, yes.

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bipolar patients for particular phases if it's
true that if it works for one phase it probably
will work for other phases?

MR. RONA: Objection. I think that
mischaracterizes his testimony.

A. The FDA in general responds to the
drug company's desire to seek additional
indications. I think that that's a marketing
stance.

So before you could say that your
medication is FDA-approved for this specific
phase of bipolar disorder in this case, one has
to demonstrate that in the form of two
double-blind, randomized trials of FDA.

Where I'm going here is that there's
Level 1 evidence to support the efficacy in a
phase of bipolar disorder supporting the use of
these medications in bipolar disorder. I think
it becomes a level of detail of what states of
bipolar disorder one of these treatments has an
FDA indication in as opposed to a clinical
Gestalt, if you will, that a drug works in
bipolar disorder.

BY MS. HARRIS:

 

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Q. I gather that you prescribe a lot of
these medications fairly frequently?

A. Yes.

Q. But you're still not aware of whether
there are Level 1 evidence supporting some of
the indications you've discussed?

A. Well, I thought I was clear that all
of these medications that we've discussed have
Level | evidence to support their use in various
phases of bipolar disorder.

Q. So it's your position that for all of
the indications that you use these medications,
there's Level 1 evidence supporting it?

A. No. [said that there's Level 1
evidence to support the use of these medications
in bipolar disorder. I think it would be, I
don't know, minutia to say this one has it for
this mood state for this amount of time versus
that. But they all have Level | data to support
efficacy in bipolar disorder.

Q. Why does the FDA give approval for
specific indications -- or let me back up for a
second.

Why does the FDA give approval in

 

 

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Q. Isee.

A. In other words, let me try to clarify.
You wouldn't say "well, you know, today I
learned that this drug now has an additional
indication, so let me take you off this and put
you on --" it just doesn't go like that.

There's more of a continuity when treating
patients.

Q. Okay. Bipolar disorder is a specific
mood disorder, is that correct?

A. What do you mean by "specific"?

Q. Is one type of mood disorder?

A. Yes.

Q. What are other types of mood
disorders?

A. Well, you know, we typically think of
on one hand bipolar disorder and on the other
hand unipolar disorder.

Unipolar is a depressive disorder that
does not have mania or hypomania or mixed
elements.

Q. Are there other mood disorders?

A. There's something called dysthymic
disorder, which is typically a long-term low

 

 

87 (Pages 342 to 345)
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grade depression, and that encompasses the Axis
1 or major mood disorders. There are other
medical induced, you could have an affective
disorder, a mood disorder from different medical
causes, hypothyroidism. Certainly you can have
a mood disorder from the use of substances, or
substance withdrawal, other medical causes like
Parkinson's disease and the like.

Q. I think you've already testified that
patients can respond differently to the same
medicine; that's correct, right?

A. Yes.

Q. What that means then is that even an
FDA-approved medication may not work in every
patient for which it is indicated?

A. Yes.

Q. So the medicine can be demonstrated
effective in a Level | study but still not work
for a particular patient?

MR. RONA: Objection.

A. Yes. The Level | study, Level 1
protocols define groups of people that respond
or not to a given treatment.

BY MS. HARRIS:

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it's probabilistic.
BY MS. HARRIS:

Q. Because they don't definitively tell
you that a drug will be effective in any
particular patient, correct?

MR. RONA: Objection.

A. They tell you that a drug will be

effective within a group of patients.
BY MS. HARRIS:

Q. A probability that the drug will be
effective within a group of patients; isn't that
what a P value is?

A. Yes.

Q. Now we're going to get to your
favorite topic.

Can you describe evidence-based
medicine?

A. I don't know why you say it's my
favorite topic, but it is an interesting topic.

Evidence-based medicine is something
that describes how physicians and other
prescribers and other health care practitioners
arrive at decisions on how to evaluate and how
to treat patients.

 

 

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Q. So ifsomeone is outside of the group
used in the Level 1 study, the Level 1 study
doesn't necessarily tell you anything about how
effective that treatment would be outside of
that population?

A. Well, we routinely make inferences. I
mean Level 1 studies describe a group, right,
but when we're treating people not everybody is
part of that group. Sometimes they are,
sometimes they're not. So the Level 1 data
gives a nice roadmap for people who may respond.
But as you point out, not everybody is going to
respond.

Q. Level 1 studies are probabilistic
studies, correct?

A. What do you mean by "probabilistic"?

Q. Well, they tell you the probability
that a particular drug will be effective in a
particular population?

MR. RONA: Objection.

A. Well, sort of. It's more like they
describe what percent of people respond, what
percent of people get to a certain end point,

 

primary outcome. So I suppose in that sense

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Q. I think at Page 6 of your report which
we've marked as Barkin Exhibit Number 4, I
believe, you state at the second paragraph that
evidence-based medicine demonstrates what
treatments work, correct?

A. Yes. The idea of evidence-based
medicine is to describe with as much lack of
bias, as much lack of confounding factors that
which works best for a given patient.

Q. Do all doctors practice evidence-based
medicine?

A. Absolutely.

Q. Is that a requirement of the ethics
code for doctors, to practice evidence-based
medicine?

MR. RONA: Objection.

A. I don't know if it's an ethical issue.

I think it's a practical issue. Evidence-based

medicine derives from reading the medical

literature. I certainly hope that all

physicians are reading the medical literature.
BY MS. HARRIS:

Q. You write that there are three levels
of evidence, correct?

 

 

88 (Pages 346 to 349)
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS
MDL Docket No. 1629
Master File No. 04-10981

RRR KKK KER KK KKK KERR KKK KE KKK KKK KKK EKER

In Re: NEURONTIN MARKETING, SALES
PRACTICES, AND PRODUCTS LIABILITY
LITIGATION,

KKK RK KKK RK RK KR KR KR RRR KEKE K KK RAKE KERR KEKE

THIS DOCUMENT RELATES TO:

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HARDEN MANUFACTURING CORPORATION;
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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK

RRR RE KKK KR KEK RRR KK RRR K KR KEK KKK RK KEK KA KEKE

In Re: NEURONTIN PRODUCT LIABILITY
LITIGATION

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THIS DOCUMENT APPLIES TO: 765000/06

ALL CASES

 

 

 
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the majority of cases where one is guided by
evidence, Level | evidence, one has to weight
that appropriately.

To directly answer your question,
could a Level 1 trial miss efficacy, be a
so-called false/negative, it's possible, yes.

BY MS. HARRIS:

Q. So how many trials do you think are
necessary?

MR. RONA: Objection.

A. It depends upon the design. But in
general, if there's a replication trial of the
first trial that also is negative, to me and to
people I know that would be very supportive of
lack of efficacy.

BY MS. HARRIS:
Q. Within the population being studied?
A. Yes.

MR. RONA: Objection.

A. Within the population being studied,
and within the limitations of the inclusion and
exclusion criteria.

BY MS. HARRIS:
Q. Okay. Just so we're on the same page,

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MR. RONA: Objection.

A. Again I'd have to add them up from the
trials, but for the sake of argument we can talk
about that.

BY MS. HARRIS:

Q. And you're comfortable rendering an
expert opinion that Neurontin is not effective
for the treatment of bipolar disorder based on
results in less than 100 patients?

MR. RONA: Objection.

A. I feel confident based upon four
different clinical trials of Level 1 evidence
that gabapentin is ineffective in bipolar
disorder compared to placebo.

BY MS. HARRIS:

Q. Studies on less than 100 patients is

sufficiently powered in your view?
MR. RONA: Objection.

A. The fact that this is four separate
clinical trials, to me in my opinion strongly
and consistently demonstrates lack of efficacy.

BY MS. HARRIS:

Q. On Page 7 of your report, the middle

paragraph, or the second paragraph on that page

 

 

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which Level 1 studies support your opinion on
the efficacy of Neurontin?
MR. RONA: Objection.

A. The trial of Pande, the trial of Frye,

the trial of Guille, the trial of Vieta.
BY MS. HARRIS:

Q. Those four?

A. Yes.

Q. Okay. Do you know how many patients
when you combine all those studies were actually
treated with gabapentin?

A. I'd have to go back to the articles
and add them up.

Q. Did you know that it was fewer than
100 patients?

MR. RONA: Objection.

A. The trial started out with a larger
sample size, and over time unfortunately the
sample size went down.

BY MS. HARRIS:

Q. But when you combine the sample size
for the four studies you just listed for the
patients that were actually treated with

 

gabapentin, it's less than 100 patients?

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you state "utilizing treatment which lack
evidence of therapeutic benefit places the
patient at great risk."

Did I read that correctly?

A. Yes. In general, if you have choices
of different treatments for a general clinical
population, not a research population, unless
you have really good reasons, using treatments
that lack Level 1 evidence subjects clinical
patients to lack of efficacy compared to other
treatments which may have Level | evidence, yes.

Q. Do you believe that you're placing
your two patients that are on Neurontin at great
risk?

MR. RONA: Objection.

A. The two patients that I had mentioned
to you are on numerous other mood stabilizers,
so no, they're not subject to risk.

BY MS. HARRIS:

Q. Soeven though you're utilizing with
them a drug that you believe lacks any evidence
of therapeutic benefit, you don't believe you're
putting them at great risk given the combination
of their other medications?

 

 

18 (Pages 454 to 457)
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Q. So this study examined gabapentin's
efficacy only as an adjunctive treatment to
lithium, valproate, or a combination of the two
drugs in patients who were suffering from the
more severe form of bipolar disorder, is that
correct?

A. Ifwhat you mean by "more severe" is
that they hadn't yet showed response to lithium,
valproate or a combination, yes.

Q. What I meant by "more severe" is
Bipolar I versus Bipolar II.

A. Yes.

Q. So this study does not discuss
gabapentin's efficacy as a monotherapy, correct?

A. Correct.

Q. And it does not discuss gabapentin's
efficacy for Bipolar I] patients?

MR. RONA: Objection.

A. Correct.

BY MS. HARRIS:

Q. And it does not discuss gabapentin's
efficacy with respect to non-refractory
patients, correct?

A. Yes.

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study was patients who were not better on
lithium, valproate or a combination and who were
Bipolar I.
Q. Right. So it's not generalizable to
Bipolar II?
MR. RONA: Objection.
A. Well, I don't know if it's
generalizable to II, it may be. It may carry
over to IT. But the explicit outcome here would
pertain to Bipolar I's.
BY MS. HARRIS:
Q. Okay.
MR. RONA: Do you want to take a break
now?
MS. HARRIS: Sure.
MR. RONA: Are you done with Pande?
MS. HARRIS: I am.
MR. RONA: Okay.
MS. HARRIS: Do you want to take a
bathroom break?
MR. RONA: Yes.
MS. HARRIS: Okay. Sure.
MR. RONA: Good.
MS. HARRIS: Five minutes?

 

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MR. RONA: Objection.
BY MS. HARRIS:

Q. And all of that is as a result of the
inclusion and exclusion criteria for this
particular study, correct?

MR. RONA: Objection.

A. Yes.

BY MS. HARRIS:

Q. So as we discussed earlier, this study
has limited generalizability?

MR. RONA: Objection.
(Witness reviewing document.)

A. To the extent there are some exclusion
criteria, this study is generalizable to
patients with Bipolar I who are resistant or
refractory, really refractory to lithium,
Depakote, or the combination of the two.

BY MS. HARRIS:

Q. But itis generally not generalizable
to patients outside of that criteria?

A. If what you mean by "outside of that
criteria" is non-responders to lithium,
valproate or the combination of the two, that
would be correct, The inclusion criteria of the

 

 

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MR. RONA: Sure.

THE VIDEOGRAPHER: This is the end of|
tape number one, deposition -- volume two of the
deposition of Dr. Jeffrey Barkin. The time is
10:23. We're off the record.

(Whereupon, a recess was taken.)

THE VIDEOGRAPHER: Here begins tape
two, volume two in the deposition of Dr. Jeffrey
Barkin. We're back on the record. The time is
10:38.

(Whereupon, Barkin Exhibit Number 13

was marked for identification.)

BY MS. HARRIS:

Q. Dr. Barkin, the court reporter has
Just handed you -- actually before we go into
the exhibit that we've just handed you, during
the break did you discuss with Plaintiffs'
counsel your testimony this morning?

A. No.

Q. No discussion at all about any of the
testimony or any of the exhibits you were shown
this morning?

A. We talked about persistence of Level |
data, and that's it. I mean nothing that is

 

 

20 (Pages 462 to 465)
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material or that would change anything here
today.

Q. The court reporter has handed you an
exhibit marked Exhibit 13, it's an article
describing a study done by Dr. Frye and others,
am | correct?

(Witness reviewing document.)

A. Yes.

BY MS. HARRIS:

Q. Is this the Frye study that you
testified you relied on in connection with your
expert opinion?

A. Itis.

Q. And this is a study of gabapentin and
Lamotrigine as monotherapy in refractory
patients, is that correct?

A. Yes, it is.

Q. As we previously discussed, refractory
means that the patients are not responding to
their existing treatments, is that correct?

A. Yes.

Q. Do you mention in your expert report
that this study only evaluated gabapentin in
refractory patients?

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MR. RONA: Objection.

A. I don't know that I would necessarily
characterize the Vieta study as particularly
positive in light of the group of patients
involved.

BY MS. HARRIS:

Q. My question is, though, you did not
discuss the limitation of the Frye study which
is negative, but you did discuss the limitations
of the Vieta study which is positive. Why the
difference in approach?

MR. RONA: Objection.
I don't think it's been established
that the Vieta study is positive.

A. I was really looking at the efficacy
outcomes primarily with Frye, and not getting
into the caveats that he discusses in his
report.

BY MS. HARRIS:
Q. Well, let's talk about those caveats.
Could you turn to Page 612, please?

A. Yes.

Q. Atthe top of Page 612, Dr. Frye and
the authors write, quote, "other limitations and

 

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A. Ihave to look back at my report.
Q. Please do so.
A. Imay have, I may not have.

(Witness reviewing document.)
A. I didnot explicitly state refractory.

BY MS. HARRIS:
Q. This study doesn't reach any

conclusions about the efficacy of gabapentin in
non-refractory patients, correct?
MR. RONA: Objection.
A. That's correct.
BY MS. HARRIS:

Q. Are you aware that Frye discusses the
limitations of his study in the article?

A. Yes.

Q. You didn't reference the limitations
of this study in your expert report either, did
you?

A. No, I did not describe every paragraph
of the study. It's contained in the study.

Q. So incontrast, you did discuss
extensively what you viewed as the limitations
of the Vieta study, which is the only positive
study that you looked at, is that correct?

 

 

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caveats relate to the type of patients studied
and the generalizability of the findings. As
presented in Table 1, the study population was
highly refractory and had a high degree of
exposure to conventional agents and were either
intolerant or refractory. A very high
percentage (92 percent) of this bipolar sample
was rapid cycling, which is substantially
greater than the general population estimates of
this course specifier (DSM-IV.). Both
refractory UP and BP patients were included in
this preliminary study. The degree of efficacy
in a more homogeneous and typical population of.
patients who were less severely ill remains to
be explored. Also, the direct application of
these preliminary monotherapy results to
community treatment guidelines is limited, given
that a combination treatment is the norm and
monotherapy regimes are rarely used in clinical
practice."

Would you agree with me that Frye and
the other authors of this article are pointing
out that there are limitations to the
generalizability of their conclusions?

 

 

21 (Pages 466 to 469)
ora uP WD

NNNNNFPPRPRPBPR PRP BB
BPW HOF Ow DOTA OP WN EH OW

on nn WH NE

NNNNNFPRRHP HRP BHP BRB
SB wWNYEF OW OI KDU FPwWNEF OO

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A. Yes.

Q. You didn't think it was important to
note those limitations in your expert report?

MR. RONA: Objection.

A. In my report I didn't relate every
point, every strength or limitation of every
piece, that's correct.

BY MS. HARRIS:

Q. Yet you nonetheless generalize from
this report that Neurontin is ineffective in
treating all bipolar patients, correct?

MR. RONA: Objection.
Which report are you talking about?
MS. HARRIS: His expert report.

A. Yes. The conclusion of my report in
looking at all of the Level 1 trials is that
gabapentin is not effective in bipolar disorder.

BY MS. HARRIS:

Q. Do you disregard the limitations that
Dr. Frye and the other articles of this study
say are an important consideration in evaluating
their conclusions?

A. All trials, all studies have
limitations. But what I was honing in on was

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Q. Last sentence of the second paragraph.

A. Yes.

Q. "The role of both of these agents in a
combination treatment or as adjuncts, as they
would likely be used in practice settings,
remains to be clarified."

Would you agree that the authors of
this study have not definitively concluded that
Neurontin or gabapentin is ineffective in
treating all bipolar patients?

MR. RONA: Objection.

A. The authors also note in the sentence
before that that "a second placebo-controlled
study of gabapentin add-on to suboptimally
mood-stabilized bipolar manic patients found no
benefit of gabapentin over placebo." And as you
point out, that's the Pande study as referenced
58 in the Frye report.

BY MS. HARRIS:

Q. Yes. So even considering the Pande
study and the results that fail to show any
efficacy for gabapentin in treating bipolar
patients in the population studied, the authors
of the Frye study still believe that more work

 

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the efficacy or lack thereof from all of the
known, all of the known Level 1 trials of
gabapentin, placebo.

Q. Pande also looks only at refractory
patients, correct?

A. Yes. That was a criteria for entry.

Q. So both Pande and Frye only look at
refractory patients, correct?

A. Yes.

Q. Farther down on Page 612 the authors
note, quote, "the role of both of these agents
in a combination treatment or as adjuncts, as
they would likely be used in practice settings,
remains to be clarified."

A. I'm sorry, where are you reading from?

Q. Three-quarters of the way down the
first column on Page 612.

A. "Early open studies"?

MR. RONA: Is it right after footnote
58?

MS. HARRIS: Exactly.

MR. RONA: Do you see footnote 58?

A. Let me just get there.

BY MS. HARRIS:

 

 

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needs to be done before concluding that
gabapentin is ineffective, don't you agree?

MR. RONA: Objection.

A. He feels that the use of these agents
as mono or adjunctive therapies remains to be
clarified in practice settings, which is a
fairly reasonable statement.

But this is again now two Level 1
trials. And the important thing about Frye is
Lamotrigine, the LTG, did separate from placebo
and did separate from gabapentin. But in the
Frye report, consistent with the Pande report,
again gabapentin as an adjunct in this as in
Frye didn't separate from placebo and is
negative in efficacy.

BY MS. HARRIS:

Q. Butat least as of this study, even
considering Pande, Frye believes there's more
work to be done before reaching definitive
conclusions about gabapentin and bipolar
disorder, correct?

MR. RONA: Objection.

A. That's what he suggests.

BY MS. HARRIS:

 

 

22 (Pages 470 to 473)
own nb WW HP

NNNNNFPPPPP RPP PPB
PBPWNPFPOWOIHR UO BWNHHR OY

OoOn~wInNU BWDP

NNNNNEFP EPP PP PPE
BWNFPOWDMIYAUBRWNP OW

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patients, do you?
MR. RONA: Objection.

A. I did not in my report.

BY MS. HARRIS:

Q. And you don't list any Level | studies
supporting the extrapolation of the conclusions
with respect to refractory patients to
non-refractory patients in your relied upon
materials, isn't that correct?

MR. RONA: Objection.

A. Yes.

BY MS. HARRIS:

Q. Let's look at an abstract from the
Guille study which you also indicated you relied
on, | believe, is that correct?

A. Yes.

(Whereupon, Barkin Exhibit Number 14

was marked for identification.)

(Witness reviewing document.)

MR. RONA: Has this been marked?

COURT REPORTER: 14.

MR. RONA: 14. I'm just going to
object to the use of this exhibit insofar as it
doesn't have a Bates number on it, and it

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A. Yes.

MR. RONA: I still keep my objection.
I don't know whose handwriting this is. I don't
dispute that this is publicly available, it may
be, but I don't know if it would be publicly
available with the checkmark and the handwriting
at the bottom of the page.

I'll allow questioning, but I just --
for the record, there's an objection to each
question about this document until we can
ascertain that this is what he's seen.

BY MS. HARRIS:

Q. Dr. Barkin, I believe you just
testified that this is the same document that
you relied upon and reviewed in connection with
your expert report, correct?

A. Yes.

Q. Okay. Dr. Guille's study was also a
study of adjunctive gabapentin in refractory
patients, is that correct?

A. Yes.

Q. Similar to Pande and Frye in the sense
that they were all looking at refractory
patients, correct?

 

 

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doesn't seem like this was something that was
produced in discovery by Pfizer. To the extent
that it should have, I object to it being used
now.
MR. ROCHE: Is it publicly available?
Or I should say isn't it publicly available?
MS. HARRIS: Well, maybe we can
resolve this objection by going back to
Dr. Barkin's expert report.
BY MS. HARRIS:
Q. Dr. Barkin, could you turn to your
first expert report, please? Could I turn your
attention to Page 24 of that report, please?
Under "Publications," number 14, is listed as
"Guille C.," quote, "Gabapentin versus placebo
as adjunctive treatment for acute mania and
mixed states in bipolar disorders," end quote.
"American Psychiatric Association, Annual
Meeting 1999."
Did I read that correctly?
A. Yes.
Q. Is Barkin Exhibit 14 the same document
that I just identified as part of your reviewed

 

publications?

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A. Yes.

Q. Inyour expert report on Page 9, in
your discussion of the Guille study, you quote
Dr. Guille as follows, quote, "this study did
not find adjunctive gabapentin to be efficacious
treatment for refractory mania," and then
eclipses are inserted, correct?

A. Yes.

Q. If] turn your attention to Barkin
Exhibit 14.

A. Okay.

Q. On the back page at the top on the
left column, am I correct that the full sentence
reads, quote, "this study did not find
adjunctive gabapentin to be efficacious
treatment for refractory mania, but cannot
address efficacy for non-refractory bipolar
disorder," period, end quote.

MR. RONA: Just for the record, it
actually reads no space NR -- or "N capital N
capital R refractory bipolar disorder."

MS. HARRIS: So noted.

BY MS. HARRIS:

Q. Did | read that correctly, Dr. Barkin?

 

 

25 (Pages 482 to 485)
SowInA UP WwW PD BR

NNNNNPHRBEP BPP PEEL
BPWUNPOWMDIUHUOKBWDHH Ow

on DO bP WD

NNNNNPRBP RB BBP eB ee
m WN OW DOrw~AIDR UP WH HO Ww

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A. Yes.

Q. Why did you leave out the end of that
sentence in your expert report?

A. Because I was trying to get to
Guille's ultimate conclusion that gabapentin is
a mood stabilizing agent may be unwarranted.

Q. You did not think it was important to
note in your discussion of Guille that she
explicitly notes that she is not making any
conclusions as to efficacy in non-refractory
patients?

MR. RONA: Objection.

A. I did not consider that. I just view

this as yet another double-blind protocol.
BY MS. HARRIS:

Q. So three of the four studies that you
relied upon in support of your expert opinion
that gabapentin is ineffective in all bipolar
patients only look at refractory patients,
correct?

MR. RONA: Objection.

A. Yes, they look at refractory patients.
However, these studies are the only Level 1
evidence available to us. So obviously we have

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A. That was their design of their Level |
protocol, yes.

Q. Let's go back to the notes, Barkin
Exhibit 7.

On Page 10 of Barkin Exhibit Number 7,
there's a note that says in the middle of the
page, quote, "why include Guille," end quote.

What does this statement refer to?

A. That it's Level 1 protocol, that it
should be included, and we did.

Q. Was there a question of including
Guille?

A. Not that] recall. We looked for all
Level 1, all double-blind data available. And
it may be, I mean again you're asking me to look
at notes from last June, it may be that there
was another question, but I don't recall what
that would have been.

Q. Do you recall any discussion with
Plaintiffs’ counsel or Dr. Goldman about whether
or not to include Guille in your expert report?

A. I don't recall having a conversation
last June, though it's certainly possible.

Q. You can put that aside.

 

 

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to do some extrapolation, we can't be so rigid
as to say we have no data. This is Level 1
data.

BY MS. HARRIS:

Q. Yet you don't cite any Level 1 studies
or any Level 1 data supporting the extrapolation
to all patients, correct?

MR. RONA: Objection.

A. Correct.

MR. RONA: You mean all bipolar
patients?

MS. HARRIS: What did I say?

MR. RONA: "All patients."

MS. HARRIS: I meant all bipolar
patients.

MR. RONA: Same objection.

BY MS. HARRIS:

Q. Do you know the size of the Guille
study?

A. I believe it was eighteen, nine in
each group.

Q. So only nine patients received
gabapentin in Dr. Guille's study, is that

 

correct?

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Do you know what statistics were used
in connection with the Guille study?

MR. RONA: Objection.

A. I don't know what statistical tests
they used, though the primary outcome variables
were changed in YMRS and Hamilton's depression.

BY MS. HARRIS:

Q. Do you know if the study used
parametric statistics?

A. IJ don't have, excuse me, I don't have
the statistical tests available from the poster.

Q. You previously testified that the
small sample size doesn't bother you because
they used perimetric statistics but, in fact,
you don't know that Dr. Guille used parametric
Statistics, isn't that correct?

A. We don't know what statistical tests
that they employed.

Q. You can put that aside.

Are you aware of any Level 1 evidence
that looked at efficacy of gabapentin in
non-refractory patients?

MR. RONA: Objection.

A. _In reviewing the Level 1 protocols,

 

 

26 (Pages 486 to 489)
